     Case: 1:15-cv-10449 Document #: 27 Filed: 11/28/16 Page 1 of 1 PageID #:62

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Alejandro Mora, et al.
                                     Plaintiff,
v.                                                     Case No.: 1:15−cv−10449
                                                       Honorable Mary M. Rowland
General Organics, Inc., et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 28, 2016:


         MINUTE entry before the Honorable Mary M. Rowland: Pursuant to the parties'
stipulated dismissal [26] and Rule 41(a)(1)(A)(ii), this action is dismissed without
prejudice, with each party incurring its own attorneys' fees and costs, except as otherwise
provided for by the parties' settlement agreement. The Court will maintain jurisdiction to
enforce the parties' settlement agreement. The Court grants leave to reinstate the case for
purposes of enforcing the settlement agreement until 12/15/2016. If no motion to reinstate
is filed by 12/15/2016, the dismissal will automatically convert to a dismissal with
prejudice. The status hearing set for 11/29/16 is stricken. Civil case terminated. Mailed
notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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